IN THE UNITED sTATES DISTRICT COURT
FOR THE WESTERN DISTRICT 0F TENNESSEE x
EASTERN DIVISION ,,;j; -

BERNADETTE CUNNINGHAM
and ROSALIND JOHNSON,
Individually and as Administratrix
of the Estate of Nekeya Magsby,
Deceased,

 

Plaintiffs,

v. NO. 04-1144 T/An
MICHELIN NORTH AMERICA, INC.,
and MICHELIN AMERICAS
RESEARCH & DEVELOPMENT
CORPORATION,

\-/‘b/\_I`_¢"_/\_¢'\.f"/\/V\_/\_/\_i\_/\_/V

Defendants.

 

ORDER GRANTING MOTION TO CONTINUE TRIAL
AND DENYING MOTION TO ESTABLISH NEW DEADLINES

 

Before the Court is Plaintiff’s Motion for Trial Continuance filed on May 18, 2005. For
good cause shown, the Motion for Trial Continuance is GRANTED. A trial in this matter shall
be re-set to begin on WEDNESDAY, FEBRUARY 22, 2006. A joint pre-trial Order shall be
due to the Court no later than FRIDAY, FEBRUARY 10, 2006.

ln the instant Motion, Plaintif`f requests the establishment of new pre~tria] deadlines.
Af’ter due consideration, the Motion to establish new deadlines is DENIED without prejudice
Rule 16(b) of the Federal Rules of Civil Procedure provides that “[a] schedule Shall not be

modified except upon a showing of good cause and by leave of the District Judge, or when

Th!s document entered on the docket eat fn compliance
with nme 53 and:or,?s (a) FRCP on 7

Case 1:04-cv-01144-RL.]-STA Document 58 Filed 07/06/05 Page 2 of 4 Page|D 84

authorized by Local Rule, by a Magistrate .`ludge.”l Fed. R. Civ. P. l6(b). “The primary measure
of Rule 16's ‘ good cause’ standard is the moving party’s diligence in attempting to meet the case
management orders and requirements.” Larom'a Inge v. Rock Fz'nancz'al Corp., 281 F.3d 613, 625
(6th Cir. 2002) (citing Braa’ford v. Damz Corp., 249 F.3d 807, 809 (Sth Cir. 2001)). At this time,
Plaintiff has not demonstrated good cause to modify the current Scheduling Order. Plaintiff
argues the establishment of new deadlines is proper because Plaintiff will need future medical
treatment; however, under the Federal Rules of Civil Procedure, Plaintiff can supplement the
reports of treating physicians and/or experts disclosed in accordance with the Fed. R. Civ. P. 26.
Therefore, if and when Plaintiff receives any information surrounding Plaintiff’s injury that is
casually related to the accident, Plaintiff can renew her motion to modify the deadlines

previously imposed. The Court will reconsider such a motion at that time.

I.%AJ @.J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: h DJ’. Z(JQl/
d / '

 

l Pursuant to Administrative Order No. 2003, Motions to Amend Scheduling Order are to be decided by the
Magistrate Judge without a specific order of reference

 

F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 1:04-CV-01144 was distributed by faX, mail, or direct printing on
.luly 7, 2005 to the parties listed.

 

.loe S. Moore

Circuit Court Clerk
Haywood County Cthse.
Brownsville, TN 38012

Susan J. Warren

MORRIS MANNING & MARTIN
3343 Peachtree Rd.7 NE

Atlanta, GA 30326--104

John R. Tarpley

LEWIS KING KRIEG & WALDROP, PC
201 4th Avenue North

Ste. 1500

Nashville, TN 37219

.lonathan O. Steen

ARMS TRONG ALLEN, PLLC
464 North Parkway

Ste. A

Jackson, TN 38305

.leffrey S. Rosenblum
ROSENBLUM & REISMAN
80 l\/lonroe Ave.

Ste. 560

l\/lemphis7 TN 38103

Robert Redding

ARMS TRONG ALLEN, PLLC
464 North Parkway

Ste. A

Jackson, TN 38305

A. l\/l. Quattlebaum

NELSON l\/[ULLINS RILEY & SCARBOROUGH, L.L.P.

104 South l\/lain St.7 Ste. 900
P.O.Box10084
Greenville7 SC 29601

Case 1:04-cv-01144-RL.]-STA Document 58 Filed 07/06/05 Page 4 of 4 Page|D 86

Andrea Laginess Moody
BOWMAN & BROOKE
50 West Big Beaver Rd.
Troy7 l\/ll 48084--529

Russell l\/larlin

EUBANKS & ASSOCIATES
708 W. Second St.

Little Rock7 AR 72201

T. l\/lichael Lee

EUBANKS & ASSOCIATES
708 W. Second St.

Little Rock7 AR 72201

Gary Holt

EUBANKS & ASSOCIATES
708 W. Second St.

Little Rock7 AR 72201

Elizabeth C. Helm

MORRIS MANNING & MARTIN
3343 Peachtree Rd.7 NE

Atlanta, GA 30326--104

Fred .l. Fresard
BOWMAN & BROOKE
50 West Big Beaver Rd.
Troy7 l\/ll 48084--529

Kirk A. Caraway
ROSENBLUM & REISMAN
80 l\/lonroe Ave.

Ste. 950

l\/lemphis7 TN 38103

David L. Bearman

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Robert P. Alpert

MORRIS MANNING & MARTIN
3343 Peachtree Rd.7 NE

Atlanta, GA 30326--104

Honorable .l ames Todd
US DISTRICT COURT

